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                          EXHIBIT 4
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

  TOTAL REBUILD, INC.,                §
                                      § Civil Action No. 6:15-cv-01855-RFD-CBW
              Plaintiff,              §
                                      §
  vs.                                 §
                                      §
  PHC FLUID POWER, L.L.C.             §   JUDGE BRIAN JACKSON
                                      §
                                      §
              Defendant.              §
  ____________________________________________________________________________

  PLAINTIFF TOTAL REBUILD INC.'S SECOND SUPPLEMENTAL DISCLOSURE OF
   ASSERTED CLAIMS AND PRELIMINARY INFRINGEMENT CONTENTIONS AND
                ACCOMPANYING DOCUMENT PRODUCTION


         Pursuant to Scheduling Order (Doc. 50), and the Parties agreed upon compliance with a

  modified version of the Patent Rules as set forth under the Local Rules of the United States

  District Court for the Eastern District of Texas for patent specific deadlines (“P.R.”), Plaintiff

  Total Rebuild, Inc. (“Total”) provides its Supplemental Disclosure of Asserted Claims and

  Supplemental Infringement Contentions and Accompanying Document Production against PHC

  Fluid Power, L.L.C. (“PHC”) in this action.

         Total reserves the right to supplement these Infringement Contentions, including the list

  of accused products and services, based upon further discovery. Further, Total may amend or

  supplement any of these disclosures and contentions in view of any claim construction ruling(s)

  issued by the Court or any position taken by PHC in this action, pursuant to P.R. 3-7. Total,

  therefore, expressly reserves the right to amend or supplement its identification of asserted

  claims, accused instrumentalities, and priority dates, as well as its claim charts, based on further

  investigation and discovery.

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     I.      SUPPLEMENTAL IDENTIFICATION OF INFRINGED CLAIMS AND
             ACCUSED INSTRUMENTALITIES PURSUANT TO P. R. 3-1 (A) AND (B)

  A. U.S. Patent Number 8,146,428 B2

                 1. P.R. 3-1(a) – Infringed Claims

          Total presently contends that PHC infringes claims 3-5, 11-15, and 18-19 of U.S. Patent

  No. 8,146,428 B2 (“the ’428 Patent”) based on Total’s understanding of the information

  currently available to Total regarding PHC’s Accused Instrumentalities identified below.

                 2. P.R. 3-1(b) – Accused Instrumentalities

          Total presently identifies the following PHC products as “Accused Instrumentalities”

  under all applicable subsections of 35 U.S.C. § 271 with respect to the respective asserted

  claims: PHC’s , PHC’s “Bunker Test Systems”, also identified as “Test Bench”, “Test Bunker”,

  “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”, PHC’s Remote

  Control, Multiple Outlet Test System, also identified as “High/Low Pump Skid”, denoted with

  the model no. prefix “PHC-PS…”, PHC’s Point and Click Remote Control Systems, associated

  with PHC’s Valve Manifold and Pump Systems denoted with the model no. prefix “PHC-

  VM…”, PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix “PHC-

  ES…”, and such devices and/or systems associated or used in conjunction with PHC’s Point and

  Click Remote Control Systems and E-Stop Safety Inter-Lock Packages. Such Accused

  Instrumentalities being made, used, rented, offered for sale, or sold in, or imported into, the

  United States since the ‘428 patent issued, including all services supporting such PHC products,

  such as unit repair services, training services, support services, and implementation and

  customization services. These identifications are based on a preliminary understanding of

  information currently available to Total and upon the disclosures made by PHC during ongoing


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  discovery, and Total reserves the right to supplement these identifications and claim chart as

  discovery proceeds.

            As PHC employs an inconsistent designation structure for its advertised products, such

  Accused Instrumentalities may further extend to PHC’s advertised: High Pressure Hydrostatic

  Testing Systems, Automated High Pressure Testing Systems, Custom Hydrostatic Pressure Test

  Systems, Hydrostatic Test Packs, High/Low Hydraulic Test Skid, Multiple Valve Test Cabinet,

  Portable Offshore Test Cart, Portable Dual Pump Pack, Remote Gas/Liquid Test System,

  Remote Control Pump Skid, Remote Control Bunker System, Complete Turn Key Valve Test

  Package, and/or such systems including PHC’s Portable Pressure Test Carts, PHC Data

  Acquisition System, and Hydraulic Control Panel, yet, as PHC has only provided a limited

  disclosure regarding its units to Total and as Total has not yet been permitted to examine the

  units, Total reserves the right to supplement the identifications and claim chart to include such

  units as discovery proceeds.

     II.       SUPPLEMENTAL CHART IDENTIFYING CLAIM ELEMENTS WITHIN
               ACCUSED INSTRUMENTALITIES PURSUANT TO P. R. 3-1(C)

            Total provides a chart, attached as Exhibit A, which identifies where each limitation of

  each asserted claim is found in representative proof for each of the Accused Instrumentalities.

  The first column of each chart recites the limitations of the asserted claim verbatim. The second

  column shows an example of where a corresponding element is found in representative proof for

  each of the Accused Instrumentalities. These identifications are based on a preliminary

  understanding of information currently available to Total, and Total reserves the right to

  supplement these charts as discovery proceeds.

     III.      SUPPLEMENTAL LITERAL INFRINGEMENT AND INFRINGEMENT
               UNDER THE DOCTRINE OF EQUIVALENTS PURSUANT TO P. R. 3-1(D)


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           Total presently contends that the PHC Accused Instrumentalities literally infringe the

  asserted claims of the ‘428 Patent. Nevertheless, with respect to any claim element or limitation

  that may be found not to be literally embodied in the Accused Instrumentalities, Total contends

  in the alternative that the Accused Instrumentalities embody such claim elements or limitations

  under the doctrine of equivalents and that any claim element or limitation not found to be

  literally met is equivalently met because any difference between the claim element or limitation

  and the Accused Instrumentalities is not a substantial difference. Accordingly, Total contends

  that any asserted claim which the Accused Instrumentalities are not found to be embodied

  literally is nevertheless embodied by the Accused Instrumentalities under the doctrine of

  equivalents under an operative doctrine of equivalents test, e.g., function- way-result or

  insubstantial differences tests.

     IV.      SUPPLEMENTAL DISCLOSURE PURSUANT TO P. R. 3-1(F)

           Based on presently available information and current analysis, Total identifies the

  following Total products (at least as to certain members of the family of products) as products

  that practice at least one or more of the asserted claims of the ‘428 Patent since its priority date

  of Aug. 8, 2008: the Total “Patented Safety Test System” product, which practices, incorporates,

  or reflects Claims 3-5 and 11-15. Further, Total offers high pressure testing services which

  practice, incorporate, and reflect Claims 18-19. See Total’s web page at: http://totalrebuild.com/.

  Total’s response is based on information currently known to Total and is without prejudice to

  Total’s right to supplement its response during the course of litigation.




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  Respectfully submitted,

                                             /s/ Chase A. Manuel________________
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this, the 27th day of August, 2017, a copy of Plaintiff’s

  Supplemental Disclosure Of Asserted Claims And Preliminary Infringement Contentions And

  Accompanying Document Production was delivered upon counsel of record for PHC Fluid

  Power, L.L.C via electronic mail.



                            _________/s/ Chase A. Manuel__________
                                       Chase A. Manuel




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                                                    EXHIBIT A

                                  Total’s Preliminary Infringement Contentions

  U.S. Patent No. 8,146,428 B2                                 Accused Instrumentalities
  Claim 1. A safety system for    PHC’s systems are “high pressure hydrostatic testing systems” operating with
  testing high-pressure devices   liquids and gases, advertising “[a] wide variety of safety devices [] available with
  comprising:                     any of [their] high pressure testing systems”. See Hydrostatic Testing Equipment
                                  description, [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/].


  an explosion-proof              The PHC Systems are described wherein “[a]ll high pressure is contained in the
  safety housing;                 test cell” (See Automated High Pressure Testing Systems description,
                                  [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                                  pressure-testing-systems/]).

                                  PHC’s test cells being a 20 foot test cell with its own door or lid (description of
                                  PHC’s Hydraulic Control Panel, [http://pneumaticandhydraulic.com/hydrostatic-
                                  testing-equipment/hydraulic-control-panel/].

                                  PHC’s Custom Hydrostatic Pressure Test Systems description stating “[t]hese
                                  systems can be provided as a completely enclosed cabinet”.
                                  [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                                  hydrostatic-pressure-test-systems/] (emphasis added).

                                  Pneumatic and Hydraulic Systems Brochure, previously provided as Exhibit D to
                                  Total’s original Disclosure Of Asserted Claims And Preliminary Infringement
                                  Contentions And Accompanying Document Production, Complete Turn Key Valve
                                  Test Package description stating “remote controllable pump and valve cabinet”.

                                  PHC’s Hydrostatic Test Packs disclosing, “self-contained with all the components
                                  built-in an open frame stainless steel rack”.
                                  [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                                  packs/] (emphasis added).

                                  PHC’s Portable Pressure Test Carts disclosing, “control box”.
                                  [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-test-
                                  carts/]. Exhibit D (emphasis added).

                                  Multiple Valve Test Cabinet description describing “pressure test cabinets
                                  include pumps, controls and manual valves for pressurization”. Exhibit D
                                  (emphasis added).

                                  Hydrostatic Test and Gas Charging Cabinet description describing “Test cabinets
                                  are available for hydro-testing or gas testing”. Exhibit D (emphasis added).

                                  PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                                  “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                                  disclosing the system as having a “Bunker”. See Exhibit E at Total Rebuild 580,
                                  586, 602-603, 606, 608-609, 611-612, 615-619, 621, 623-624, 626-627, 630-635,
                                  638-639, 641-645, 647-648, 651-654, 658, 661-666 (emphasis added).

                                  PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low

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                         Pump Skid”, denoted with the model no. prefix “PHC-PS…”, disclosing the system
                         containing a “bunker”. See Exhibit F at Total Rebuild/PHC 667, 673, 679-680,
                         684-685.

                         PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                         Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                         describing that the system as comprising a “Bunker” also described as a “NEMA
                         12 enclosure.” See Exhibit G at Total Rebuild/PHC 689-690(emphasis added).

                         PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                         “PHC-ES…”, describing that the system comprises an “enclosure to house the PLC
                         and all switches.” See Exhibit H at Total Rebuild/PHC 696-697.

                         See also Exhibit D photographic depictions of enclosures and enclosed cabinets of
                         PHC’s Remote Control Bunker System, Remote Gas/Liquid Test System, and
                         Portable Offshore Test Cart.

  a high- pressure       PHC’s automated high pressure testing systems, stating that “[t]ests will not begin
  pneumatics testing     if any safety interlock device is not activated” and that “[a]ll high pressure is
  equipment located      contained in the test cell”, implying that the testing equipment is within the
  within said housing;   housing. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                         equipment/automated-high-pressure-testing-systems/].

                         PHC’s Hydrostatic Test Packs disclosing, that the system is “self-contained” to
                         “generate liquid pressures, oil or water up to 60,000psi” with “all the components
                         build-in”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                         equipment/hydrostatic-test-packs/].

                         PHC’s Portable Pressure Test Carts having “[a]ll of the components [] mounted
                         and plumbed in a stainless steel or powder-coated, 2-wheel cart with a sloped front
                         control box containing the valves and gauges” with “[d]esigns for pressures up to
                         100,000 psi are available. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                         equipment/pressure-test-carts/].

                         PHC’s Hydraulic Control Panel describing that its hydrostatic testing systems test
                         pits contain pumps to test tools inside the test pits.
                         [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                         control-panel/].

                         The first and second subassemblies of PHC’s Complete Turn Key Valve Test
                         Package disclosing the large stainless steel reservoir having a high flow pump and
                         the cabinet descried as a pump and valve cabinet. Exhibit D.

                         Multiple Valve Test Cabinet description describing “pressure test cabinets include
                         pumps, controls and manual valves for pressurization”. Exhibit D (emphasis
                         added).

                         Portable Offshore Test Cart described as having a reservoir and pumps. Exhibit D.

                         PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                         “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                         disclosing the system as containing “the main High Pressure system components
                         inside one 1\4" thick stain less steel Cabinet along with the high pressure pump and
                         valves.” See Exhibit E at Total Rebuild/PHC 663, 666. See also Exhibit E at Total
                         Rebuild/PHC 597 with attention to the pump marked “High Pressure” in the
                         control layout for system controls:

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                          PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                          Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing that the
                          “Pump/Valve Rack” is “Inside Bunker”. See Exhibit F at Total Rebuild/PHC 667,
                          673.

                          PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                          Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                          describing the system as having “pumps” and that “[t]he system components will
                          be contained in a NEMA 12 enclosure.” See Exhibit G at Total Rebuild/PHC 690.

                          PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                          “PHC-ES…”, describing that the four test rooms enclose equipment for testing. See
                          Exhibit H at Total Rebuild/PHC 696-697.

                          Upon information and belief, the PHC Hydrostatic Test and Gas Charging Cabinet,
                          Remote Gas/Liquid Test System, and Remote Control Bunker System are equipped
                          with high-pressure pneumatics testing equipment within their housings. Exhibit D.

  a bleed valve coupled   PHC’s Automated High Pressure Testing Systems boast use of valve components
  to said high-pressure   within its pressure system which can be used to depressurize the system.
  pneumatics testing      [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
  equipment;              pressure-testing-systems/]. See also “vent valve” depicted:




                          PHC’s Hydrostatic Test Packs disclosing, that the system can be equipped with

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                            vent valves and relief valves for additional safety.
                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                            packs/].

                            PHC’s Portable Pressure Test Carts containing safety devices, “such as relief
                            valves”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                            equipment/pressure-test-carts/].

                            PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                            “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                            disclosing the system as equipped with a “Vent Valve” coupled to the High-
                            Pressure Pump. See Exhibit E at Total Rebuild/PHC 586, 588-594, 603, 611, 618,
                            626, 631, 633, 643, 650, 652, 661, 663, 664, 666. See also Exhibit E at Total
                            Rebuild/PHC 597 with attention to the “Vent Valve” in the control layout for
                            system controls:




                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing the
                            system as having a “vent valve”. See Exhibit F at Total Rebuild/PHC 667, 673,
                            679, 684.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describing the valve manifold system as being capable of “vent[ing] all pressure”.
                            See Exhibit G at Total Rebuild/PHC 689-690. Upon information and belief, such
                            capability being facilitated by a vent or bleed valve.

                            Upon information and belief, PHC’s E-Stop Safety Inter-Lock Package, denoted
                            with the model no. prefix “PHC-ES…”, further includes a vent valve or other
                            exhausting valve mechanism similar to other PHC devices implementing a
                            proximity switch for venting the contained pressure in the system in the vent of
                            personnel opening the bunker doors during testing. See Exhibit H.

                            Upon information and belief, all of PHC’s hydrostatic testing equipment use bleed
                            valves coupled to the high pressure testing equipment within the housing.

  a closeable access        PHC’s description of its Hydraulic Control Panel discloses that PHC’s test cells
  opening in said           and test pits contain a “door/lid”. [http://pneumaticandhydraulic.com/hydrostatic-
  housing for inserting a   testing-equipment/hydraulic-control-panel/].

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  high-pressure device
  for testing within said   PHC Automated High Pressure Testing Systems as having “[p]roximity switches”
  housing;                  integrated into the system “to completely depressurize the system in the event of
                            personnel entering into the test area”, shown as having an access.




                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                            pressure-testing-systems/#!].

                            PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                            “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                            discloses the system as having “doors” in the bunker system. See Exhibit E at Total
                            Rebuild/PHC 580, 584, 602, 612, 616-617, 627, 632, 634, 641-644, 653, 657, 659,
                            662-663, 665-666.

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing the
                            system as having a “door”. See Exhibit F at Total Rebuild/PHC 667, 673, 679-680,
                            684-685.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describing the bunker as having “doors”. See Exhibit G at Total Rebuild/PHC 689-
                            690.

                            PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                            “PHC-ES…”, describing that the four test rooms have doors. See Exhibit H. See
                            also schematic depiction of the four test rooms having doors. Exhibit H at Total
                            Rebuild/PHC 691-692, 694, 696-697.

                            See also the photographic depictions of PHC’s Custom Hydrostatic Pressure Test
                            Systems (http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                            hydrostatic-pressure-test-systems/) and High/Low Hydraulic Test Skid, Complete
                            Turn Key Valve Test Package, Portable Offshore Test Cart, Portable Test Cart,
                            Hydrostatic Test and Gas Charging Cabinet, Remote Gas/Liquid Test System, and
                            Remote Control Bunker System, each showing an access. Exhibit D.

                            Upon information and belief, the housings of PHC’s hydrostatic testing equipment
                            contain an access in their housings to allow for the placement of the desired tools
                            for testing within the housing.

  means within said         PHC’s Hydrostatic Test Packs describing that “these hydrostatic test packs are self-
  housing for coupling      contained with all the components built-in”.
  said high-pressure        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
  pneumatics testing        packs/].
  equipment to said
  high-pressure device      PHC’s Portable Pressure Test Carts disclosing “[a]ll of the components are
  for testing;              mounted and plumbed”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                            equipment/pressure-test-carts/].

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                        PHC’s Hydraulic Control Panel describing that PHC’s test cells have “transfer
                        pumps that pump corrosion inhibitor test fluid to the tools inside of the test pits.”
                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                        control-panel/].

                        PHC’s High/Low Hydraulic Test Skid having a large volume reservoir with dual
                        parallel air operated pumps for high flow, high pressure hydraulic power and
                        manual 4-way directional control valves. Exhibit D.

                        PHC’s Portable Offshore Test Cart having pumps. Exhibit D.

                        PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                        “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                        expressly describe “coupling”, “tubing”, “hose”, “collar”, “tee”, and “elbow” for
                        coupling the pumps to the equipment to be tested. Exhibit E at Total Rebuild/PHC
                        600-601, 607-608, 614-615, 622-623, 629-630, 635, 638-640, 645, 647-648.
                        Furthermore, as can be seen in the depicted the control layout for system controls
                        showing the “Test Part” is coupled to the High-Pressure Pump by such couplings,
                        tubing, hose, collars, tees, and elbows. See Exhibit E at Total Rebuild/PHC 597:




                        PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                        Pump Skid”, denoted with the model no. prefix “PHC-PS…”, contains various
                        “hose”, “tubing”, and “couplings” used to interconnect the device to be tested to
                        the testing equipment. See Exhibit F at Total Rebuild/PHC 670, 676, 680, 682,
                        685, 687.

                        Upon information and belief, PHC’s Point and Click Remote Control Systems,
                        associated with PHC’s Valve Manifold and Pump Systems denoted with the model
                        no. prefix “PHC-VM…”, contains means for coupling a device to be tested to the
                        high pressure testing equipment located within the bunker to facilitate the testing of
                        equipment by the system.

                        PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                        “PHC-ES…”, is describes “plumbing” within the cabinets. See Exhibit H at Total
                        Rebuild 696. Upon information and belief, the plumbing is the means in the system
                        for coupling the high pressure pumps to the device to be tested.




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                                   See also the photographic depictions of PHC’s Remote Gas/Liquid Test System
                                   showing pumps, plumbing, hose, manifolds, etc. within the housing.

                                   Upon information and believe, all of PHC’s housed testing systems contain means
                                   within their housings to couple the desired equipment to be tested to the high
                                   pressure testing equipment.

  a control panel located remote   PHC’s Hydraulic Control Panel advertised for external control of test cells and
  from said housing; and           further shown in a remote condition to the testing system:




                                   [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                                   control-panel/].

                                   PHC’s Automated High Pressure Testing Systems describing use of an “operator’s
                                   control station” for controlling the system which may be a mouse or a touch-screen
                                   to operate all components and is further shown in a remote condition to the testing
                                   system.




                                   [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                                   pressure-testing-systems/#!].

                                   PHC’s Hydrostatic Test Packs disclosing “controls and gauges are panel mounted
                                   in a top plate for easy use and accessibility” on the external surface of the housing.
                                   [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                                   packs/].

                                   PHC’s Portable Pressure Test Carts shown and described as having a “control box”
                                   over the housing.




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                                  [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-test-
                                  carts/].

                                  See Exhibit D advertisement for PHC’s Remote Gas/Liquid Test System and
                                  Remote Control Bunker System having “enclosed cabinets” advertised as being
                                  “Remote Control Systems”.
                                  PHC Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                                  “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                                  expressly discloses that the control console of PHC’s Bunker Test Systems are
                                  located “outside the bunker.” See Exhibit E at Total Rebuild/PHC 611, 626, 661,
                                  664.

                                  PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                                  Pump Skid”, denoted with the model no. prefix “PHC-PS…”, discloses the use of a
                                  “Control Console (Outside Bunker)”. Exhibit F at Total Rebuild/PHC 667, 673.

                                  PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                                  Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”, is
                                  expressly described as being remotely controlled with a “control panel” mounted
                                  “onto the exterior wall of the test bunker.” See Exhibit G at Total Rebuild/PHC
                                  689-690.

                                  PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                                  “PHC-ES…”, is described as having a “wall mount electrical control panel”. See
                                  Exhibit H at Total Rebuild/PHC 691.

                                  See also PHC’s Custom Hydrostatic Pressure Test Systems
                                  (http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                                  hydrostatic-pressure-test-systems/) and High/Low Hydraulic Test Skid, Multiple
                                  Valve Test Cabinet, Portable Offshore Test Cart, Complete Turn Key Valve Test
                                  Package, Gas/Hyd Pump System advertised in Exhibit D having control systems
                                  depicted remote from their housings.

  means linking said high-        PHC’s Hydraulic Control Panel is described and shown as being connected via
  pressure pneumatics testing     cables and/or tubing for controlling transfer pumps:
  equipment to said control
  panel for operating said high
  pressure pneumatics testing
  equipment within said safety
  housing from said control
  panel.



                                  [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                                  control-panel/].

                                  PHC’s Automated High Pressure Testing Systems depicts cables and/or tubing
                                  connecting the control panel to the housing:




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                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                            pressure-testing-systems/#!].

                            PHC’s Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                            “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                            describes that “PHC will run all inter-connect electrical wiring and plumbing
                            between the control console, lock-box, proximity switches and pump/valve frames”
                            and that during installation “wiring to connect the consoles to the Pump/Valves
                            Racks”. Exhibit E at Total Rebuild 635, 645, 655. Such interconnection of the
                            control panel with the pump/valve testing equipment allows for user control and
                            facilitation of a test inside the bunker. See also “Interconnect Wiring” schematic as
                            shown in Exhibit E at Total Rebuild 656.

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, contains various
                            “hose”, “tubing”, and “couplings” used to interconnect the control panel to the
                            testing equipment. See Exhibit F at Total Rebuild/PHC 670, 676, 680, 682, 685,
                            687.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describes that the control panel is connected to the valves and transducers within
                            the bunker by wires and cables. See Exhibit G at Total Rebuild/PHC 689-690.

                            Upon information and belief, based upon the disclosure of the functionality of the
                            PHC E-Stop Safety Inter-Lock Package, denoted with the model no. prefix “PHC-
                            ES…”, the control panel of PHC’s E-Stop Safety Inter-Lock Package is attached to
                            the high pressure testing equipment located within the testing rooms. Exhibit H.
                            Furthermore, it is inherent within PHC’s Custom Hydrostatic Pressure Test
                            Systems, Remote Gas/Liquid Test System, Remote Control Bunker System,
                            Gas/Hyd Pump System, Hydrostatic Test and Gas Charging Cabinet, Portable
                            Offshore Test Cart, Multiple Valve Test Cabinet, Complete Turn Key Valve Test
                            Package, High/Low Hydraulic Test Skid, Hydrostatic Test Packs, and Portable
                            Pressure Test Carts, each having remote control panels, that a means is present to
                            link such panels to their respective testing housings.

  Claim 3. The safety       PHC’s Automated High Pressure Testing Systems describe use of a “safety
  system for testing        interlock device” which must be activated to begin a test and “Proximity switches”
  high-pressure devices     integrated into the system to completely depressurize the system in the event
  as described in claim 1   personnel should enter the test area.
  further including: a      [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
  sensor for sensing that   pressure-testing-systems/#!].
  said access opening is
  closed, said sensor       Each door of PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test
  coupled to said bleed     Bunker”, “High/Low Pump System” denoted with the model no. prefix “PHC-
  valve to activate said    TB…”, are described as each having “proximity switches” “wired along with []
  bleed valve to prevent    directional valves” and which “indicate to the system when [the doors] are

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  pressure buildup in the   closed” and, in the event “any door is open, the system will not allow a test to be
  high-pressure testing     run. The pumps will be turned off, the vent and isolation valves will be opened, and
  equipment if the          the pump supply valves will be closed . If any door is opened while a test is in
  access opening is not     progress, the system will automatically turn off the pumps and relieve the
  closed.                   pressure.” See Exhibit E at Total Rebuild/PHC 584 (emphasis added); see also
                            descriptions of proximity switch functionality in Exhibit E at Total Rebuild/PHC
                            612, 627, 648, 662-663, 665-666. See also Exhibit E schematic depicting a “Door
                            Switch”. Exhibit E at Total Rebuild 598.

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describes use of a
                            “proximity switch in a box for use with bunker door”. See Exhibit F at Total
                            Rebuild/PHC 667, 673. The proximity switches are located “on each door” and
                            signal for “shutting down of the system” wherein the “proximity switches for the
                            bunker doors and a control solenoid valve in the control panel to stop all pumps
                            and depressurize the system in question.” Exhibit F at Total Rebuild/PHC 679-680,
                            684-685.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”, is
                            expressly described as having a “proximity switch to detect when the doors are
                            open”, where in the event of a door being opened the proximity switch will “both
                            kill power to the system and vent the pressure.” See Exhibit G at Total
                            Rebuild/PHC 690.

                            PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                            “PHC-ES…”, contains 16 proximity switches for each door in the four test rooms,
                            wherein the proximity switches function similar that of other PHC proximity
                            switches in PHC’s other systems to detect when a door is open, kill the power to
                            the testing equipment, and vent pressure from the system, describing that the
                            “panel will disable the functioning of individual room systems based upon the
                            positions of the doors.” See Exhibit H at Total Rebuild/PHC 696-697.
                            As Total’s initial contentions are only based upon its preliminary understanding of
                            the limited information currently available in PHC’s web based advertisement and
                            as Total has yet to be allowed to examine PHC’s devices, Total reserves the right to
                            supplement as discovery proceeds.

  Claim 4. The safety       PHC’s Automated High Pressure Testing Systems describe that such “safety
  system for testing        interlock device” must be activated for a test to begin and that such “Proximity
  high-pressure devices     switches” integrated into the system are situated to depressurize the system in the
  as described in claim 3   event personnel enter the test area. [http://pneumaticandhydraulic.com/hydrostatic-
  wherein said sensor for   testing-equipment/automated-high-pressure-testing-systems/#!].
  sensing that said
  access opening is         PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
  closed is located at      “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”, are
  said access opening.      describes “[m]ounting the proximity switches on the door”. Exhibit E at Total
                            Rebuild/PHC 641 (Emphasis Added). See also Exhibit E at Total Rebuild 598,
                            schematic depicting a “Door Switch”.

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describes the
                            “proximity switch” being “on each door”. Exhibit F at Total Rebuild 679, 684.

                            Upon information and belief, the “proximity switch” of PHC’s Point and Click
                            Remote Control Systems, associated with PHC’s Valve Manifold and Pump


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                            Systems denoted with the model no. prefix “PHC-VM…”, is located at the door of
                            the system bunker as PHC’s proximity switches are shown and described as being
                            located at or on each door. Exhibit G.

                            PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                            “PHC-ES…”, describes that its proximity switches are located at each door. See
                            Exhibit H at Total Rebuild 696-697.
                            As Total’s initial contentions are only based upon its preliminary understanding of
                            the limited information currently available in PHC’s web based advertisement and
                            as Total has yet to be allowed to examine PHC’s devices, Total reserves the right to
                            supplement as discovery proceeds.


  Claim 5. The safety       Though not directly described in the limited disclosure of PHC’s product
  system for testing        description, it is believed that such feature is implied by the inclusion of “relief
  high-pressure devices     valves”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
  as described in claim 3   equipment/hydrostatic-test-packs/; http://pneumaticandhydraulic.com/hydrostatic-
  wherein said bleed        testing-equipment/pressure-test-carts/]; see also Exhibit D.
  valve includes a spring
  maintaining said bleed    Upon information and belief, PHC’s “Bunker Test Systems”, also identified as
  valve in an opened        “Test Bench”, “Test Bunker”, “High/Low Pump System” denoted with the model
  condition to prevent      no. prefix “PHC-TB…”, PHC’s Remote Control, Multiple Outlet Test System, also
  pressure build-up in      identified as “High/Low Pump Skid”, denoted with the model no. prefix “PHC-
  said high-pressure        PS…”, PHC’s Point and Click Remote Control Systems, associated with PHC’s
  pneumatics testing        Valve Manifold and Pump Systems denoted with the model no. prefix “PHC-
  equipment and is air      VM…”, PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no.
  operated to actuate       prefix “PHC-ES…” employ “vent valves” which include a spring to actuate the
  said bleed valve to a     vent valve.
  closed condition to       As Total’s initial contentions are only based upon its preliminary understanding of
  allow pressure build-     the limited information currently available in PHC’s limited production and as
  up in said high-          Total has yet to be allowed to examine PHC’s devices, Total reserves the right to
  pressure pneumatics       supplement as discovery proceeds.
  testing equipment.
  Claim 11. A safety        PHC’s systems are “high pressure hydrostatic testing systems” operating with
  system for testing        liquids and gases, advertising “[a] wide variety of safety devices [] available with
  high-pressure devices     any of [their] high pressure testing systems”. See Hydrostatic Testing Equipment
  comprising:               description, [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/].

  an explosion-proof        The PHC Systems are described wherein “[a]ll high pressure is contained in the
  safety housing;           test cell” (See Automated High Pressure Testing Systems description,
                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                            pressure-testing-systems/]).

                            PHC’s test cells being a 20 foot test cell with its own door or lid (description of
                            PHC’s Hydraulic Control Panel, [http://pneumaticandhydraulic.com/hydrostatic-
                            testing-equipment/hydraulic-control-panel/].

                            PHC’s Custom Hydrostatic Pressure Test Systems description stating “[t]hese
                            systems can be provided as a completely enclosed cabinet”.
                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                            hydrostatic-pressure-test-systems/] (emphasis added).

                            Pneumatic and Hydraulic Systems Brochure, previously provided as Exhibit D to
                            Total’s original Disclosure Of Asserted Claims And Preliminary Infringement
                            Contentions And Accompanying Document Production, Complete Turn Key Valve


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                         Test Package description stating “remote controllable pump and valve cabinet”.

                         PHC’s Hydrostatic Test Packs disclosing, “self-contained with all the components
                         built-in an open frame stainless steel rack”.
                         [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                         packs/] (emphasis added).

                         PHC’s Portable Pressure Test Carts disclosing, “control box”.
                         [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-test-
                         carts/]. Exhibit D (emphasis added).

                         Multiple Valve Test Cabinet description describing “pressure test cabinets
                         include pumps, controls and manual valves for pressurization”. Exhibit D
                         (emphasis added).

                         Hydrostatic Test and Gas Charging Cabinet description describing “Test cabinets
                         are available for hydro-testing or gas testing”. Exhibit D (emphasis added).

                         See also Exhibit D photographic depictions of enclosures and enclosed cabinets of
                         PHC’s Remote Control Bunker System, Remote Gas/Liquid Test System, and
                         Portable Offshore Test Cart.

                         PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                         “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                         disclosing the system as having a “Bunker”. See Exhibit E at Total Rebuild 580,
                         586, 602-603, 606, 608-609, 611-612, 615-619, 621, 623-624, 626-627, 630-635,
                         638-639, 641-645, 647-648, 651-654, 658, 661-666 (emphasis added).

                         PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                         Pump Skid”, denoted with the model no. prefix “PHC-PS…”, disclosing the system
                         containing a “bunker”. See Exhibit F at Total Rebuild/PHC 667, 673, 679-680,
                         684-685.

                         PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                         Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                         describing that the system as comprising a “Bunker” also described as a “NEMA
                         12 enclosure.” See Exhibit G at Total Rebuild/PHC 689-690(emphasis added).

                         PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                         “PHC-ES…”, describing that the system comprises an “enclosure to house the PLC
                         and all switches.” See Exhibit H at Total Rebuild/PHC 696-697.

  high-pressure          PHC’s automated high pressure testing systems, stating that “[t]ests will not begin
  pneumatics testing     if any safety interlock device is not activated” and that “[a]ll high pressure is
  equipment located      contained in the test cell”, implying that the testing equipment is within the
  within said housing;   housing. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                         equipment/automated-high-pressure-testing-systems/].

                         PHC’s Hydrostatic Test Packs disclosing, that the system is “self-contained” to
                         “generate liquid pressures, oil or water up to 60,000psi” with “all the components
                         build-in”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                         equipment/hydrostatic-test-packs/].

                         PHC’s Portable Pressure Test Carts having “[a]ll of the components [] mounted
                         and plumbed in a stainless steel or powder-coated, 2-wheel cart with a sloped front


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                        control box containing the valves and gauges” with “[d]esigns for pressures up to
                        100,000 psi are available. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                        equipment/pressure-test-carts/].

                        PHC’s Hydraulic Control Panel describing that its hydrostatic testing systems test
                        pits contain pumps to test tools inside the test pits.
                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                        control-panel/].

                        The first and second subassemblies of PHC’s Complete Turn Key Valve Test
                        Package disclosing the large stainless steel reservoir having a high flow pump and
                        the cabinet descried as a pump and valve cabinet. Exhibit D.

                        Multiple Valve Test Cabinet description describing “pressure test cabinets include
                        pumps, controls and manual valves for pressurization”. Exhibit D (emphasis
                        added).

                        Portable Offshore Test Cart described as having a reservoir and pumps. Exhibit D.

                        Upon information and belief, the PHC Hydrostatic Test and Gas Charging Cabinet,
                        Remote Gas/Liquid Test System, and Remote Control Bunker System are equipped
                        with high-pressure pneumatics testing equipment within their housings. Exhibit D.

                        PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                        “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                        disclosing the system as containing “the main High Pressure system components
                        inside one 1\4" thick stain less steel Cabinet along with the high pressure pump and
                        valves.” See Exhibit E at Total Rebuild/PHC 663, 666. See also Exhibit E at Total
                        Rebuild/PHC 597 with attention to the pump marked “High Pressure” in the
                        control layout for system controls:




                        PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                        Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing that the
                        “Pump/Valve Rack” is “Inside Bunker”. See Exhibit F at Total Rebuild/PHC 667,
                        673.

                        PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                        Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                        describing the system as having “pumps” and that “[t]he system components will


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                            be contained in a NEMA 12 enclosure.” See Exhibit G at Total Rebuild/PHC 690.

                            PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                            “PHC-ES…”, describing that the four test rooms enclose equipment for testing. See
                            Exhibit H at Total Rebuild/PHC 696-697.

  a closeable access        PHC’s description of its Hydraulic Control Panel discloses that PHC’s test cells
  opening in said           and test pits contain a “door/lid”. [http://pneumaticandhydraulic.com/hydrostatic-
  housing for inserting a   testing-equipment/hydraulic-control-panel/].
  high-pressure device
  for testing within said   PHC Automated High Pressure Testing Systems as having “[p]roximity switches”
  housing;                  integrated into the system “to completely depressurize the system in the event of
                            personnel entering into the test area”, shown as having an access.




                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                            pressure-testing-systems/#!].

                            See also the photographic depictions of PHC’s Custom Hydrostatic Pressure Test
                            Systems (http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                            hydrostatic-pressure-test-systems/) and High/Low Hydraulic Test Skid, Complete
                            Turn Key Valve Test Package, Portable Offshore Test Cart, Portable Test Cart,
                            Hydrostatic Test and Gas Charging Cabinet, Remote Gas/Liquid Test System, and
                            Remote Control Bunker System, each showing an access. Exhibit D.

                            Upon information and belief, the housings of PHC’s hydrostatic testing equipment
                            contain an access in their housings to allow for the placement of the desired tools
                            for testing within the housing.

                            PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                            “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                            discloses the system as having “doors” in the bunker system. See Exhibit E at Total
                            Rebuild/PHC 580, 584, 602, 612, 616-617, 627, 632, 634, 641-644, 653, 657, 659,
                            662-663, 665-666.

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing the
                            system as having a “door”. See Exhibit F at Total Rebuild/PHC 667, 673, 679-680,
                            684-685.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describing the bunker as having “doors”. See Exhibit G at Total Rebuild/PHC 689-
                            690.

                            PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                            “PHC-ES…”, describing that the four test rooms have doors. See Exhibit H. See
                            also schematic depiction of the four test rooms having doors. Exhibit H at Total
                            Rebuild/PHC 691-692, 694, 696-697.

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  means within said      PHC’s Hydrostatic Test Packs describing that “these hydrostatic test packs are self-
  housing for coupling   contained with all the components built-in”.
  said high-pressure     [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
  pneumatics testing     packs/].
  equipment to said
  high-pressure device   PHC’s Portable Pressure Test Carts disclosing “[a]ll of the components are
  for testing;           mounted and plumbed”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                         equipment/pressure-test-carts/].

                         PHC’s Hydraulic Control Panel describing that PHC’s test cells have “transfer
                         pumps that pump corrosion inhibitor test fluid to the tools inside of the test pits.”
                         [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                         control-panel/].

                         PHC’s High/Low Hydraulic Test Skid having a large volume reservoir with dual
                         parallel air operated pumps for high flow, high pressure hydraulic power and
                         manual 4-way directional control valves. Exhibit D.

                         PHC’s Portable Offshore Test Cart having pumps. Exhibit D.

                         See also the photographic depictions of PHC’s Remote Gas/Liquid Test System
                         showing pumps, plumbing, hose, manifolds, etc. within the housing.

                         Upon information and believe, all of PHC’s housed testing systems contain means
                         within their housings to couple the desired equipment to be tested to the high
                         pressure testing equipment.

                         PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                         “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                         expressly describe “coupling”, “tubing”, “hose”, “collar”, “tee”, and “elbow” for
                         coupling the pumps to the equipment to be tested. Exhibit E at Total Rebuild/PHC
                         600-601, 607-608, 614-615, 622-623, 629-630, 635, 638-640, 645, 647-648.
                         Furthermore, as can be seen in the depicted the control layout for system controls
                         showing the “Test Part” is coupled to the High-Pressure Pump by such couplings,
                         tubing, hose, collars, tees, and elbows. See Exhibit E at Total Rebuild/PHC 597:




                         PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low


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                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, contains various
                            “hose”, “tubing”, and “couplings” used to interconnect the device to be tested to
                            the testing equipment. See Exhibit F at Total Rebuild/PHC 670, 676, 680, 682,
                            685, 687.

                            Upon information and belief, PHC’s Point and Click Remote Control Systems,
                            associated with PHC’s Valve Manifold and Pump Systems denoted with the model
                            no. prefix “PHC-VM…”, contains means for coupling a device to be tested to the
                            high pressure testing equipment located within the bunker to facilitate the testing of
                            equipment by the system.

                            PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                            “PHC-ES…”, is describes “plumbing” within the cabinets. See Exhibit H at Total
                            Rebuild 696. Upon information and belief, the plumbing is the means in the system
                            for coupling the high pressure pumps to the device to be tested.


  a control panel located   PHC’s Hydraulic Control Panel advertised for external control of test cells and
  remote from said          further shown in a remote condition to the testing system:
  housing;




                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                            control-panel/].

                            PHC’s Automated High Pressure Testing Systems describing use of an “operator’s
                            control station” for controlling the system which may be a mouse or a touch-screen
                            to operate all components and is further shown in a remote condition to the testing
                            system.




                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                            pressure-testing-systems/#!].

                            PHC’s Hydrostatic Test Packs disclosing “controls and gauges are panel mounted
                            in a top plate for easy use and accessibility” on the external surface of the housing.
                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                            packs/].

                            PHC’s Portable Pressure Test Carts shown and described as having a “control box”
                            over the housing.




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                          [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-test-
                          carts/].

                          See Exhibit D advertisement for PHC’s Remote Gas/Liquid Test System and
                          Remote Control Bunker System having “enclosed cabinets” advertised as being
                          “Remote Control Systems”.

                          See also PHC’s Custom Hydrostatic Pressure Test Systems
                          (http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                          hydrostatic-pressure-test-systems/) and High/Low Hydraulic Test Skid, Multiple
                          Valve Test Cabinet, Portable Offshore Test Cart, Complete Turn Key Valve Test
                          Package, Gas/Hyd Pump System advertised in Exhibit D having control systems
                          depicted remote from their housings.

                          PHC Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                          “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                          expressly discloses that the control console of PHC’s Bunker Test Systems are
                          located “outside the bunker.” See Exhibit E at Total Rebuild/PHC 611, 626, 661,
                          664.

                          PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                          Pump Skid”, denoted with the model no. prefix “PHC-PS…”, discloses the use of a
                          “Control Console (Outside Bunker)”. Exhibit F at Total Rebuild/PHC 667, 673.

                          PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                          Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”, is
                          expressly described as being remotely controlled with a “control panel” mounted
                          “onto the exterior wall of the test bunker.” See Exhibit G at Total Rebuild/PHC
                          689-690.

                          PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                          “PHC-ES…”, is described as having a “wall mount electrical control panel”. See
                          Exhibit H at Total Rebuild/PHC 691.



  a bleed valve coupled   PHC’s Automated High Pressure Testing Systems boast use of valve components
  to said high-pressure   within its pressure system which can be used to depressurize the system.
  testing equipment;      [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                          pressure-testing-systems/]. See also “vent valve” depicted:




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                        PHC’s Hydrostatic Test Packs disclosing, that the system can be equipped with
                        vent valves and relief valves for additional safety.
                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                        packs/].

                        PHC’s Portable Pressure Test Carts containing safety devices, “such as relief
                        valves”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                        equipment/pressure-test-carts/].

                        Upon information and belief, all of PHC’s hydrostatic testing equipment use bleed
                        valves coupled to the high pressure testing equipment within the housing.

                        PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                        “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                        disclosing the system as equipped with a “Vent Valve” coupled to the High-
                        Pressure Pump. See Exhibit E at Total Rebuild/PHC 586, 588-594, 603, 611, 618,
                        626, 631, 633, 643, 650, 652, 661, 663, 664, 666. See also Exhibit E at Total
                        Rebuild/PHC 597 with attention to the “Vent Valve” in the control layout for
                        system controls:




                        PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                        Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing the
                        system as having a “vent valve”. See Exhibit F at Total Rebuild/PHC 667, 673,
                        679, 684.

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                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describing the valve manifold system as being capable of “vent[ing] all pressure”.
                            See Exhibit G at Total Rebuild/PHC 689-690. Upon information and belief, such
                            capability being facilitated by a vent or bleed valve.

                            Upon information and belief, PHC’s E-Stop Safety Inter-Lock Package, denoted
                            with the model no. prefix “PHC-ES…”, further includes a vent valve or other
                            exhausting valve mechanism similar to other PHC devices implementing a
                            proximity switch for venting the contained pressure in the system in the vent of
                            personnel opening the bunker doors during testing. See Exhibit H.


  a sensor for sensing      PHC’s Automated High Pressure Testing Systems describe use of a “safety
  that said access          interlock device” which must be activated to begin a test and “Proximity switches”
  opening is closed, said   integrated into the system to completely depressurize the system in the event
  sensor coupled to said    personnel should enter the test area.
  bleed valve to activate   [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
  said bleed valve to       pressure-testing-systems/#!].
  prevent pressure
  buildup in the high-      As Total’s initial contentions are only based upon its preliminary understanding of
  pressure testing          the limited information currently available in PHC’s web based advertisement and
  equipment if the          as Total has yet to be allowed to examine PHC’s devices, Total reserves the right to
  access opening is not     supplement as discovery proceeds.
  closed; and
                            Each door of PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test
                            Bunker”, “High/Low Pump System” denoted with the model no. prefix “PHC-
                            TB…”, are described as each having “proximity switches” “wired along with []
                            directional valves” and which “indicate to the system when [the doors] are
                            closed” and, in the event “any door is open, the system will not allow a test to be
                            run. The pumps will be turned off, the vent and isolation valves will be opened, and
                            the pump supply valves will be closed . If any door is opened while a test is in
                            progress, the system will automatically turn off the pumps and relieve the
                            pressure.” See Exhibit E at Total Rebuild/PHC 584 (emphasis added); see also
                            descriptions of proximity switch functionality in Exhibit E at Total Rebuild/PHC
                            612, 627, 648, 662-663, 665-666. See also Exhibit E schematic depicting a “Door
                            Switch”. Exhibit E at Total Rebuild 598.

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describes use of a
                            “proximity switch in a box for use with bunker door”. See Exhibit F at Total
                            Rebuild/PHC 667, 673. The proximity switches are located “on each door” and
                            signal for “shutting down of the system” wherein the “proximity switches for the
                            bunker doors and a control solenoid valve in the control panel to stop all pumps
                            and depressurize the system in question.” Exhibit F at Total Rebuild/PHC 679-680,
                            684-685.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”, is
                            expressly described as having a “proximity switch to detect when the doors are
                            open”, where in the event of a door being opened the proximity switch will “both
                            kill power to the system and vent the pressure.” See Exhibit G at Total
                            Rebuild/PHC 690.



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                        PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                        “PHC-ES…”, contains 16 proximity switches for each door in the four test rooms,
                        wherein the proximity switches function similar that of other PHC proximity
                        switches in PHC’s other systems to detect when a door is open, kill the power to
                        the testing equipment, and vent pressure from the system, describing that the
                        “panel will disable the functioning of individual room systems based upon the
                        positions of the doors.” See Exhibit H at Total Rebuild/PHC 696-697.
  means linking said    PHC’s Hydraulic Control Panel is described and shown as being connected via
  high-pressure         cables and/or tubing for controlling transfer pumps:
  pneumatics testing
  equipment to said
  control panel for
  operating said high
  pressure pneumatics
  testing equipment
  within said safety
  housing from said
  control panel.
                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                        control-panel/].

                        PHC’s Automated High Pressure Testing Systems depicts cables and/or tubing
                        connecting the control panel to the housing:




                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                        pressure-testing-systems/#!].

                        Furthermore, it is inherent within PHC’s Custom Hydrostatic Pressure Test
                        Systems, Remote Gas/Liquid Test System, Remote Control Bunker System,
                        Gas/Hyd Pump System, Hydrostatic Test and Gas Charging Cabinet, Portable
                        Offshore Test Cart, Multiple Valve Test Cabinet, Complete Turn Key Valve Test
                        Package, High/Low Hydraulic Test Skid, Hydrostatic Test Packs, and Portable
                        Pressure Test Carts, each having remote control panels, that a means is present to
                        link such panels to their respective testing housings.

                        PHC’s Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                        “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                        describes that “PHC will run all inter-connect electrical wiring and plumbing
                        between the control console, lock-box, proximity switches and pump/valve frames”
                        and that during installation “wiring to connect the consoles to the Pump/Valves
                        Racks”. Exhibit E at Total Rebuild 635, 645, 655. Such interconnection of the
                        control panel with the pump/valve testing equipment allows for user control and
                        facilitation of a test inside the bunker. See also “Interconnect Wiring” schematic as
                        shown in Exhibit E at Total Rebuild 656.

                        PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                        Pump Skid”, denoted with the model no. prefix “PHC-PS…”, contains various
                        “hose”, “tubing”, and “couplings” used to interconnect the control panel to the

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                            testing equipment. See Exhibit F at Total Rebuild/PHC 670, 676, 680, 682, 685,
                            687.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describes that the control panel is connected to the valves and transducers within
                            the bunker by wires and cables. See Exhibit G at Total Rebuild/PHC 689-690.

                            Upon information and belief, based upon the disclosure of the functionality of the
                            PHC E-Stop Safety Inter-Lock Package, denoted with the model no. prefix “PHC-
                            ES…”, the control panel of PHC’s E-Stop Safety Inter-Lock Package is attached to
                            the high pressure testing equipment located within the testing rooms. See Exhibit
                            H.

  Claim 12. The safety      PHC’s Automated High Pressure Testing Systems are described as having “[d]ata
  system for testing        acquisition systems and PTZ camera systems” and “Electro-Pneumatic systems” an
  high-pressure devices     operator to recognize an open or closed valve.
  as described in claim     [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
  11 wherein said means     pressure-testing-systems/#!].
  linking said high
  pressure pneumatics       PHC’s Hydrostatic Test Packs are advertised as having “[c]hart recorders or
  testing equipment to      transducers” incorporated into the test packs to record tests as well as “gauges”
  said control panel        mounted on the top plate of the housing.
  includes means for        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
  monitoring and            packs/].
  recording of the
  operation of said high-   PHC’s portable test carts are described as having a “chart recorder”. Exhibit D.
  pressure pneumatics
  testing equipment.        optional chart recorder or data acquisition system

                            Exhibit D further advertises PHC’s Data Acquisition System for data logging and
                            recording of pressure transducer values which, upon information and belief, may be
                            used with any of PHC’s Hydrostatic Pressure Test Systems.

                            PHC’s Custom Hydrostatic Pressure Test Systems disclose equipping a test system
                            with a chart recorder or data acquisition system.
                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                            hydrostatic-pressure-test-systems/].

                            See also PHC’s depictions of all their Hydrostatic Testing Equipment, depicting
                            use of computers, touch screens, chart recorders, and gauges.
                            [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/;
                            http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                            hydrostatic-pressure-test-systems/; http://pneumaticandhydraulic.com/hydrostatic-
                            testing-equipment/automated-high-pressure-testing-systems/#!;
                            http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                            packs/; http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-
                            test-carts/; and Exhibit D.

                            The control panel of PHC’s Bunker Test System, also identified as “Test Bench”,
                            “Test Bunker”, “High/Low Pump System” denoted with the model no. prefix
                            “PHC-TB…”, is expressly described as allowing a user to “[m]onitor the pressure
                            in the part with the pressure indicator” and “monitor[] to ensure that the system
                            will not build up pressure unless all doors are completely closed.” See “Gas and
                            Water Bunker Control System Operation Manual”, Exhibit E at Total Rebuild/PHC
                            580, 589, 592. The control panel of the system is additionally described as being

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                            able to “control, monitor and datalog”. Exhibit E at Total Rebuild/PHC 632-633.
                            PHC’s system is further described as having “video cameras”, display “monitors”,
                            “pressure chart recorders”, “digital pressure displays”, and “data loggers”, wherein
                            logged data can be retrieved by use of a “SD memory card” or through connecting
                            a laptop via a “USB port on the front of the control console”. Exhibit E at Total
                            Rebuild/PHC 595, 600, 602-604, 611-613, 615-619, 626-628, 630, 634, 640-641,
                            643-644, 650-654, 656, 661-666. Each test, saved in a “LOG folder”, contains the
                            data from a test saved individually as CSV files. Exhibit E at Total Rebuild/PHC
                            595.

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describes the system
                            as having “video cameras”, “flat screen monitor[s] mounted on the top of the
                            control cabinet that will be able to view both cameras”, “digital pressure
                            indicators” “pressure chart recorders”, “data logger[s] to digitally display and
                            record”. See Exhibit F at Total Rebuild/PHC 679-680, 682-685, 687-688. The
                            datalogging and recording equipment is expressly described as being a part of the
                            remote control console and mounted in the control cabinet wherein the test data
                            may be downloaded via connection to a USB port. Exhibit F at Total Rebuild/PHC
                            667.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describes the system as having “video cameras” connected to the control room via
                            conduit and cables and a “data logging system” in the control room, Exhibit G at
                            Total Rebuild/PHC 689-690. Further, it is further disclosed that “[w]hile running, a
                            test, the main screen will display live graphing of the values from the pressure
                            transducers. After completing a test, the operator can create a print ready report
                            containing the data that he entered, a graph of the test, and the time and date. This
                            report will be saved as a PDF for archiving and future use. The test data will also
                            saved as a CVS file.” Exhibit G at Total Rebuild/PHC 690.

                            Upon information and belief, based upon the disclosure of the functionality of the
                            PHC E-Stop Safety Inter-Lock Package, denoted with the model no. prefix “PHC-
                            ES…”, the control panel of PHC’s E-Stop Safety Inter-Lock Package further
                            contains or is connected to “video cameras”, display “monitors”, “pressure chart
                            recorders”, “digital pressure displays”, and “data loggers” similar to that of the
                            same devices included in other PHC testing systems.


  Claim 13. The safety      PHC’s Automated High Pressure Testing Systems depict use of high and low
  system for testing        pressure pumps, as well as a pneumatic regulator:
  high-pressure devices
  as described in claim
  11 wherein said high-
  pressure equipment
  testing device includes
  a low-pressure pump,
  an intermediate-
  pressure pump, and a
  high-pressure pump to
  provide sequential
  increase in the
  pressure to said high-
  pressure devices being
  tested.

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                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                        pressure-testing-systems/#!]; see also Exhibit D. It is inherent that such desired
                        pressure achieved by the pneumatic regulator be capable of providing an
                        intermediate desired test pressure.

                        PHC’s Hydrostatic Test Packs disclose “providing hydrostatic pressure for a range
                        of applications”, including pressures up to 60,000 psi, and offering a “variety of
                        pressure ranges and flow rates”. [http://pneumaticandhydraulic.com/hydrostatic-
                        testing-equipment/hydrostatic-test-packs/].

                        PHC’s Portable Pressure Test Carts are described as having a capacity of pressures
                        up to 100,000 psi. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                        equipment/pressure-test-carts/].

                        PHC’s Dual Pump Cabinet with Data Acquisition advertises use of a high/low
                        pump system providing high flow low pressure filling and high pressure low flow
                        pressurization for testing. Exhibit D.

                        PHC’s High/Low Hydraulic Test Skid discloses use of “dual parallel air
                        operated pumps for high flow, high pressure hydraulic power”. Exhibit D.

                        PHC’s Complete Turn Key Valve Test Package discloses controllable pump and
                        valve cabinet for generating liquid and/or gas pressure. Exhibit D.

                        PHC’s Portable Dual Pump Pack describes use of pumps which may be set to apply
                        high and low pressurese including air controls. Exhibit D.

                        See also PHC’s Portable Offshore Test Cart and Gas/Hyd Pump System, each of
                        which disclose use of pumps in testing. Exhibit D.

                        It is inherent that the inclusion of high and low pressure pumps in the PHC
                        hydrostatic test systems would also be capable of being employed as a low-
                        pressure pump.

                        Upon information and belief, PHC’s Remote Gas/Liquid Test System and Remote
                        Control Bunker System include a low-pressure pump, an intermediate pressure
                        pump, and a high-pressure pump.

                        PHC’s Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                        “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                        describe use of an “air regulator to give you the pump output pressures that you
                        need.” Exhibit E at Total Rebuild/PHC 586. Upon information and belief, the air
                        regulator of PHC’s system functions equivalently to that of an intermediate pump

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                           to achieve pressures between that of the low and high pressure pumps provided.
                           See also the system schematic drawing in Exhibit E at Total Rebuild/PHC 596.

                           PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                           Pump Skid”, denoted with the model no. prefix “PHC-PS…”, employs an “Air
                           regulator”, similar to that of PHC’s Bunker Test Systems. Exhibit F at Total
                           Rebuild/PHC 669-670, 673, 675-676, 679, 682, 684, 687. Upon information and
                           belief, the air regulator of PHC’s system is similar to that of PHC’s other high
                           pressure testing systems and functions equivalently to that of an intermediate pump
                           to achieve pressures between that of the low and high pressure pumps provided.

                           PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                           Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                           describes use of “an electric/pneumatic air regulator for the pump.” See Exhibit G
                           at Total Rebuild/PHC 690. Upon information and belief, the air regulator of PHC’s
                           system is similar to that of PHC’s other high pressure testing systems and functions
                           equivalently to that of an intermediate pump to achieve pressures between that of
                           the low and high pressure pumps provided.

                           Upon information and belief, based upon the disclosure of the functionality of the
                           PHC E-Stop Safety Inter-Lock Package, denoted with the model no. prefix “PHC-
                           ES…”, the control panel of PHC’s E-Stop Safety Inter-Lock Package is attached to
                           an “air regulator” will be used in conjunction with high and low pressure pumps to
                           achieve a desired test pressure. It is believed that such air regulators incorporated
                           into these systems will function equivalently to that of an intermediate pump to
                           achieve pressures between that of the low and high pressure pumps provided.


  Claim 14. The safety     PHC discloses that its Custom Hydrostatic Pressure Test Systems can be built to fit
  system for testing       the unique requirements of each client, which Total asserts include portable
  high-pressure devices    housings. [http://pneumaticandhydraulic.com/hydrostatic-testing-
  as described in claim    equipment/custom-hydrostatic-pressure-test-systems/].
  11 wherein said
  explosion-proof safety   PHC’s Hydrostatic Test Packs are disclosed as “Small and Portable” as one of its
  housing comprises a      key features. [http://pneumaticandhydraulic.com/hydrostatic-testing-
  portable housing.        equipment/hydrostatic-test-packs/].

                           PHC’s Portable Pressure Test Carts are described as being a portable cart.
                           [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-test-
                           carts/].

                           See also PHC’s Dual Pump Cabinet with Data Acquisition, Portable Offshore Test
                           Cart, Multiple Valve Test Cabinet, Hydrostatic Test and Gas Charging Cabinet,
                           Gas/Hyd Pump System, and Remote Control Bunker System, each depicted as
                           having wheels for portability.

                           As Total’s initial contentions are only based upon its preliminary understanding of
                           the limited information currently available to Total and Total has not yet been
                           permitted to examine the devices of PHC, Total reserves the right to supplement as
                           discovery proceeds.

  Claim 15. The safety     Though not directly described in the limited disclosure of PHC’s product
  system for testing       description, it is believed that such feature is implied by the inclusion of “relief
  high-pressure devices    valves”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
  as described in claim    equipment/hydrostatic-test-packs/; http://pneumaticandhydraulic.com/hydrostatic-


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  11 wherein said bleed      testing-equipment/pressure-test-carts/]; see also Exhibit D.
  valve includes a spring
  maintaining said bleed     As Total’s initial contentions are only based upon its preliminary understanding of
  valve in an opened         the limited information currently available in PHC’s web based advertisement and
  condition to prevent       as Total has yet to be allowed to examine PHC’s devices, Total reserves the right to
  pressure build-up in       supplement as discovery proceeds.
  said high-pressure
  pneumatics testing         Upon information and belief, PHC’s “Bunker Test Systems”, also identified as
  equipment and is air       “Test Bench”, “Test Bunker”, “High/Low Pump System” denoted with the model
  operated in opposition     no. prefix “PHC-TB…”, PHC’s Remote Control, Multiple Outlet Test System, also
  to said spring to          identified as “High/Low Pump Skid”, denoted with the model no. prefix “PHC-
  actuate said bleed         PS…”, PHC’s Point and Click Remote Control Systems, associated with PHC’s
  valve to a closed          Valve Manifold and Pump Systems denoted with the model no. prefix “PHC-
  condition to allow         VM…”, PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no.
  pressure build-up in       prefix “PHC-ES…” employ “vent valves” which include a spring to actuate the
  said high-pressure         vent valve.
  pneumatics testing
  equipment.
  Claim 16. A method         PHC offers a method of testing high-pressure devices through their “high pressure
  for safely testing high-   hydrostatic testing systems” operating with liquids and gases, advertising “[a] wide
  pressure devices           variety of safety devices [] available with any of [their] high pressure testing
  comprising the steps       systems”. See Hydrostatic Testing Equipment description,
  of:                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/]; see also
                             Exhibit D.

  providing an               The PHC Systems are described wherein “[a]ll high pressure is contained in the
  explosion-proof safety     test cell” (See Automated High Pressure Testing Systems description,
  housing;                   [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                             pressure-testing-systems/]).

                             PHC’s test cells being a 20 foot test cell with its own door or lid (description of
                             PHC’s Hydraulic Control Panel, [http://pneumaticandhydraulic.com/hydrostatic-
                             testing-equipment/hydraulic-control-panel/].

                             PHC’s Custom Hydrostatic Pressure Test Systems description stating “[t]hese
                             systems can be provided as a completely enclosed cabinet”.
                             [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                             hydrostatic-pressure-test-systems/] (emphasis added).

                             Pneumatic and Hydraulic Systems Brochure, previously provided as Exhibit D to
                             Total’s original Disclosure Of Asserted Claims And Preliminary Infringement
                             Contentions And Accompanying Document Production, Complete Turn Key Valve
                             Test Package description stating “remote controllable pump and valve cabinet”.

                             PHC’s Hydrostatic Test Packs disclosing, “self-contained with all the components
                             built-in an open frame stainless steel rack”.
                             [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                             packs/] (emphasis added).

                             PHC’s Portable Pressure Test Carts disclosing, “control box”.
                             [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-test-
                             carts/]. Exhibit D (emphasis added).

                             Multiple Valve Test Cabinet description describing “pressure test cabinets
                             include pumps, controls and manual valves for pressurization”. Exhibit D
                             (emphasis added).

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                             Hydrostatic Test and Gas Charging Cabinet description describing “Test cabinets
                             are available for hydro-testing or gas testing”. Exhibit D (emphasis added).

                             See also Exhibit D photographic depictions of enclosures and enclosed cabinets of
                             PHC’s Remote Control Bunker System, Remote Gas/Liquid Test System, and
                             Portable Offshore Test Cart.

                             PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                             “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                             disclosing the system as having a “Bunker”. See Exhibit E at Total Rebuild 580,
                             586, 602-603, 606, 608-609, 611-612, 615-619, 621, 623-624, 626-627, 630-635,
                             638-639, 641-645, 647-648, 651-654, 658, 661-666 (emphasis added).

                             PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                             Pump Skid”, denoted with the model no. prefix “PHC-PS…”, disclosing the system
                             containing a “bunker”. See Exhibit F at Total Rebuild/PHC 667, 673, 679-680,
                             684-685.

                             PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                             Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                             describing that the system as comprising a “Bunker” also described as a “NEMA
                             12 enclosure.” See Exhibit G at Total Rebuild/PHC 689-690(emphasis added).

                             PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                             “PHC-ES…”, describing that the system comprises an “enclosure to house the PLC
                             and all switches.” See Exhibit H at Total Rebuild/PHC 696-697.


  placing a low-pressure     PHC’s Automated High Pressure Testing Systems depict use of high and low
  pump, an intermediate-     pressure pumps, as well as a pneumatic regulator:
  pressure pump, and a
  high-pressure pump
  within said housing to
  provide sequential
  increase in the
  pressure to said testing
  high-pressure devices;




                             [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-

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                        pressure-testing-systems/#!]; see also Exhibit D. It is inherent that such desired
                        pressure achieved by the pneumatic regulator be capable of providing an
                        intermediate desired test pressure.

                        PHC’s Hydrostatic Test Packs disclose “providing hydrostatic pressure for a range
                        of applications”, including pressures up to 60,000 psi, and offering a “variety of
                        pressure ranges and flow rates”. [http://pneumaticandhydraulic.com/hydrostatic-
                        testing-equipment/hydrostatic-test-packs/].

                        PHC’s Portable Pressure Test Carts are described as having a capacity of pressures
                        up to 100,000 psi. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                        equipment/pressure-test-carts/].

                        PHC’s Dual Pump Cabinet with Data Acquisition advertises use of a high/low
                        pump system providing high flow low pressure filling and high pressure low flow
                        pressurization for testing. Exhibit D.

                        PHC’s High/Low Hydraulic Test Skid discloses use of “dual parallel air
                        operated pumps for high flow, high pressure hydraulic power”. Exhibit D.

                        PHC’s Complete Turn Key Valve Test Package discloses controllable pump and
                        valve cabinet for generating liquid and/or gas pressure. Exhibit D.

                        PHC’s Portable Dual Pump Pack describes use of pumps which may be set to apply
                        high and low pressurese including air controls. Exhibit D.

                        See also PHC’s Portable Offshore Test Cart and Gas/Hyd Pump System, each of
                        which disclose use of pumps in testing. Exhibit D.

                        It is inherent that the inclusion of high and low pressure pumps in the PHC
                        hydrostatic test systems would also be capable of being employed as a low-
                        pressure pump.

                        Upon information and belief, PHC’s Remote Gas/Liquid Test System and Remote
                        Control Bunker System include a low-pressure pump, an intermediate pressure
                        pump, and a high-pressure pump.

                        PHC’s Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                        “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                        discloses employing a high and low pressure pump to pressurize a part to be tested.
                        Exhibit E at Total Rebuild/PHC 586-587, 603, 611, 618, 626, 631, 633, 643, 661,
                        663, 664. See also control panel layout depicting high and low pressure pumps.
                        Exhibit E at Total Rebuild/PHC 597. The system is also described as using an “air
                        regulator to give you the pump output pressures that you need.” Exhibit E at Total
                        Rebuild/PHC 586. Upon information and belief, the air regulator of PHC’s system
                        functions equivalently to that of an intermediate pump to achieve pressures
                        between that of the low and high pressure pumps provided. See also the system
                        schematic drawing in Exhibit E at Total Rebuild/PHC 596.

                        PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                        Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describes that each
                        system contains a “Pump/Valve Rack (Inside Bunker)” or “High Pressure Stainless
                        Steel Frame” which, respectively, include a low pressure pump aka “Diaphragm
                        Fill Pump” or “Low Pressure Pump” each respectively having a pressure output fill
                        time of 1:1 or 115:1 of that of the air regulator and, respectively, a high pressure


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                           pump aka “Pressure Pump” or “Pressure Pump” each respectively having a
                           pressure output fill time of 138:1 or 230:1 of that of the air regulator. Exhibit F at
                           Total Rebuild/PHC 667, 670, 673, 675-676, 679, 681-682, 684, 686-687. The
                           system further employs an “Air regulator”, similar to that of PHC’s Bunker Test
                           Systems. Exhibit F at Total Rebuild/PHC 669-670, 673, 675-676, 679, 682, 684,
                           687. Upon information and belief, the air regulator of PHC’s system is similar to
                           that of PHC’s other high pressure testing systems and functions equivalently to that
                           of an intermediate pump to achieve pressures between that of the low and high
                           pressure pumps provided.

                           PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                           Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                           describes that the system comprises a pump system. Exhibit G at Total
                           Rebuild/PHC 689. Upon information and belief, due to the limited disclosure of the
                           quote, such pump system includes high and low pressure pumps. The system is
                           further described as using “an electric/pneumatic air regulator for the pump.” See
                           Exhibit G at Total Rebuild/PHC 690. Upon information and belief, the air regulator
                           of PHC’s system is similar to that of PHC’s other high pressure testing systems and
                           functions equivalently to that of an intermediate pump to achieve pressures
                           between that of the low and high pressure pumps provided.

                           Upon information and belief, based upon the disclosure of the functionality of the
                           PHC E-Stop Safety Inter-Lock Package, denoted with the model no. prefix “PHC-
                           ES…”, the control panel of PHC’s E-Stop Safety Inter-Lock Package is attached to
                           an “air regulator” will be used in conjunction with high and low pressure pumps to
                           achieve a desired test pressure. It is believed that such air regulators incorporated
                           into these systems will function equivalently to that of an intermediate pump to
                           achieve pressures between that of the low and high pressure pumps provided.


  forming a closeable      PHC’s description of its Hydraulic Control Panel discloses that PHC’s test cells
  access opening in said   and test pits contain a “door/lid”. [http://pneumaticandhydraulic.com/hydrostatic-
  housing;                 testing-equipment/hydraulic-control-panel/].

                           PHC Automated High Pressure Testing Systems as having “[p]roximity switches”
                           integrated into the system “to completely depressurize the system in the event of
                           personnel entering into the test area”, shown as having an access.




                           [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                           pressure-testing-systems/#!].

                           See also the photographic depictions of PHC’s Custom Hydrostatic Pressure Test
                           Systems (http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                           hydrostatic-pressure-test-systems/) and High/Low Hydraulic Test Skid, Complete
                           Turn Key Valve Test Package, Portable Offshore Test Cart, Portable Test Cart,
                           Hydrostatic Test and Gas Charging Cabinet, Remote Gas/Liquid Test System, and
                           Remote Control Bunker System, each showing an access. Exhibit D.


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                         Upon information and belief, the housings of PHC’s hydrostatic testing equipment
                         contain an access in their housings to allow for the placement of the desired tools
                         for testing within the housing.

                         PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                         “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                         discloses the system as having “doors” in the bunker system. See Exhibit E at Total
                         Rebuild/PHC 580, 584, 602, 612, 616-617, 627, 632, 634, 641-644, 653, 657, 659,
                         662-663, 665-666.

                         PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                         Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing the
                         system as having a “door”. See Exhibit F at Total Rebuild/PHC 667, 673, 679-680,
                         684-685.

                         PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                         Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                         describing the bunker as having “doors”. See Exhibit G at Total Rebuild/PHC 689-
                         690.

                         PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                         “PHC-ES…”, describing that the four test rooms have doors. See Exhibit H. See
                         also schematic depiction of the four test rooms having doors. Exhibit H at Total
                         Rebuild/PHC 691-692, 694, 696-697.


  inserting a high-      Total asserts that all of PHC’s testing devices having an access allow for the
  pressure device for    insertion of devices within their housings.
  testing within said    [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
  housing through said   hydrostatic-pressure-test-systems/; http://pneumaticandhydraulic.com/hydrostatic-
  access opening;        testing-equipment/automated-high-pressure-testing-systems/#!;
                         http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                         packs/; http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-
                         test-carts/#!; http://pneumaticandhydraulic.com/hydrostatic-testing-
                         equipment/hydraulic-control-panel/#!; Exhibit D-H. See also control panel
                         depiction of a “Test Part” within the housing of the Bunker Test System. Exhibit E
                         at Total Rebuild/PHC 597.


  providing a control    PHC’s Hydraulic Control Panel advertised for external control of test cells and
  panel outside said     further shown in a remote condition to the testing system:
  housing;




                         [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                         control-panel/].

                         PHC’s Automated High Pressure Testing Systems describing use of an “operator’s
                         control station” for controlling the system which may be a mouse or a touch-screen
                         to operate all components and is further shown in a remote condition to the testing

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                        system.




                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                        pressure-testing-systems/#!].

                        PHC’s Hydrostatic Test Packs disclosing “controls and gauges are panel mounted
                        in a top plate for easy use and accessibility” on the external surface of the housing.
                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                        packs/].

                        PHC’s Portable Pressure Test Carts shown and described as having a “control box”
                        over the housing.




                        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/pressure-test-
                        carts/].

                        See Exhibit D advertisement for PHC’s Remote Gas/Liquid Test System and
                        Remote Control Bunker System having “enclosed cabinets” advertised as being
                        “Remote Control Systems”.

                        See also PHC’s Custom Hydrostatic Pressure Test Systems
                        (http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/custom-
                        hydrostatic-pressure-test-systems/) and High/Low Hydraulic Test Skid, Multiple
                        Valve Test Cabinet, Portable Offshore Test Cart, Complete Turn Key Valve Test
                        Package, Gas/Hyd Pump System advertised in Exhibit D having control systems
                        depicted remote from their housings.

                        PHC Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                        “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                        expressly discloses that the control console of PHC’s Bunker Test Systems are
                        located “outside the bunker.” See Exhibit E at Total Rebuild/PHC 611, 626, 661,
                        664.

                        PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                        Pump Skid”, denoted with the model no. prefix “PHC-PS…”, discloses the use of a
                        “Control Console (Outside Bunker)”. Exhibit F at Total Rebuild/PHC 667, 673.

                        PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve


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                          Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”, is
                          expressly described as being remotely controlled with a “control panel” mounted
                          “onto the exterior wall of the test bunker.” See Exhibit G at Total Rebuild/PHC
                          689-690.

                          PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                          “PHC-ES…”, is described as having a “wall mount electrical control panel”. See
                          Exhibit H at Total Rebuild/PHC 691.

  coupling said control   PHC’s Hydraulic Control Panel is described and shown as being connected via
  panel to the testing    cables and/or tubing for controlling transfer pumps:
  equipment inside said
  housing; and then




                          [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydraulic-
                          control-panel/].

                          PHC’s Automated High Pressure Testing Systems depicts cables and/or tubing
                          connecting the control panel to the housing:




                          [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
                          pressure-testing-systems/#!].

                          Furthermore, it is inherent within PHC’s Custom Hydrostatic Pressure Test
                          Systems, Remote Gas/Liquid Test System, Remote Control Bunker System,
                          Gas/Hyd Pump System, Hydrostatic Test and Gas Charging Cabinet, Portable
                          Offshore Test Cart, Multiple Valve Test Cabinet, Complete Turn Key Valve Test
                          Package, High/Low Hydraulic Test Skid, Hydrostatic Test Packs, and Portable
                          Pressure Test Carts, each having remote control panels, that a means is present to
                          link such panels to their respective testing housings.

                          PHC’s Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                          “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                          describes that “PHC will run all inter-connect electrical wiring and plumbing
                          between the control console, lock-box, proximity switches and pump/valve frames”
                          and that during installation “wiring to connect the consoles to the Pump/Valves
                          Racks”. Exhibit E at Total Rebuild 635, 645, 655. Such interconnection of the
                          control panel with the pump/valve testing equipment allows for user control and
                          facilitation of a test inside the bunker. See also “Interconnect Wiring” schematic as
                          shown in Exhibit E at Total Rebuild 656.

                          PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low

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                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, contains various
                            “hose”, “tubing”, and “couplings” used to interconnect the control panel to the
                            testing equipment. See Exhibit F at Total Rebuild/PHC 670, 676, 680, 682, 685,
                            687.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describes that the control panel is connected to the valves and transducers within
                            the bunker by wires and cables. See Exhibit G at Total Rebuild/PHC 689-690.

                            Upon information and belief, based upon the disclosure of the functionality of the
                            PHC E-Stop Safety Inter-Lock Package, denoted with the model no. prefix “PHC-
                            ES…”, the control panel of PHC’s E-Stop Safety Inter-Lock Package is attached to
                            the high pressure testing equipment located within the testing rooms. See Exhibit
                            H.


  operating said high-      PHC’s Automated High Pressure Testing Systems are described as being touch
  pressure pneumatics       screen operated wherein the electro-pneumatic systems provide the operator with
  testing equipment         lighted switches to indicate the presence of an open or closed valve.
  from said control panel   [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
  for testing high-         pressure-testing-systems/#!].
  pressure devices.
                            PHC’s Hydraulic Control Panel is described as operating to turn on and off the
                            power to transfer pumps that pump corrosion inhibitor test fluid to the tools inside
                            the test pits. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                            equipment/hydraulic-control-panel/].

                            PHC’s High/Low Hydraulic Test Skid having a large volume reservoir with dual
                            parallel air operated pumps for high flow, high pressure hydraulic power and
                            manual 4-way directional control valves. Exhibit D.

                            Upon information and believe, all of PHC’s testing systems contain means for
                            operating the high pressure testing equipment to test desired equipment.

                            PHC Bunker Test System, also identified as “Test Bench”, “Test Bunker”,
                            “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                            inherently allow by use of the provided control console of the Bunker Test Systems
                            to control the system’s high pressure testing equipment. Exhibit E. Such operation
                            is expressly described as the “control systems will control, monitor and data log
                            [each] bunker... Each system will consist of a Red Lion [varying product number]
                            HMI mounted on the surface of a 24" wide console to operate [] pumps and []
                            valves” and that the HMI is provided “for operator control of the system”. See
                            Exhibit E at Total Rebuild/PHC 632-634, 643-644 (Emphasis Added).

                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, inherently allow for
                            controlling the high pressure testing equipment within the system through use of
                            the described remote control console outside the bunker. See Exhibit F. The control
                            console is expressly described as being used to manually toggle on and shut off the
                            valves for each pump. See Exhibit F at Total Rebuild/PHC 679, 684.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”, is
                            described as having a control system that allows for a user to open and close the
                            system’s valves, where the system is further provided with an “On/Off selector

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                             switch”. See Exhibit G. It is further described that the communication cable run
                             between the control room and the main control panel will allow for communication
                             between a computer and the programmable logic controller. See Exhibit G at Total
                             Rebuild/PHC 689-690.

                             PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                             “PHC-ES…”, inherently, by incorporation of the described control panel, allows
                             for user control and operation of the system. The control panel of PHC’s E-Stop
                             Safety Inter-Lock Package is further described as providing programmable logic
                             control of the system, “E-Stop demand”, control solenoid valves, and selector
                             switches to power on and off control. See Exhibit H at Total Rebuild/PHC 696-
                             697.


  Claim 18. The method       PHC’s Automated High Pressure Testing Systems boast use of valve components
  for safely testing high-   within its pressure system which can be used to depressurize the system.
  pressure devices as        [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
  described in claim 16      pressure-testing-systems/]. See also “vent valve” depicted:
  including the step of:
  providing a bleed
  valve coupled to said
  high-pressure testing
  equipment; and




                             PHC’s Hydrostatic Test Packs disclosing, that the system can be equipped with
                             vent valves and relief valves for additional safety.
                             [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/hydrostatic-test-
                             packs/].

                             PHC’s Portable Pressure Test Carts containing safety devices, “such as relief
                             valves”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
                             equipment/pressure-test-carts/].

                             PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test Bunker”,
                             “High/Low Pump System” denoted with the model no. prefix “PHC-TB…”,
                             disclosing the system as equipped with a “Vent Valve” coupled to the High-
                             Pressure Pump. See Exhibit E at Total Rebuild/PHC 586, 588-594, 603, 611, 618,
                             626, 631, 633, 643, 650, 652, 661, 663, 664, 666. See also Exhibit E at Total
                             Rebuild/PHC 597 with attention to the “Vent Valve” in the control layout for
                             system controls:




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                            PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                            Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describing the
                            system as having a “vent valve”. See Exhibit F at Total Rebuild/PHC 667, 673,
                            679, 684.

                            PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                            Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”,
                            describing the valve manifold system as being capable of “vent[ing] all pressure”.
                            See Exhibit G at Total Rebuild/PHC 689-690. Upon information and belief, such
                            capability being facilitated by a vent or bleed valve.

                            Upon information and belief, PHC’s E-Stop Safety Inter-Lock Package, denoted
                            with the model no. prefix “PHC-ES…”, further includes a vent valve or other
                            exhausting valve mechanism similar to other PHC devices implementing a
                            proximity switch for venting the contained pressure in the system in the vent of
                            personnel opening the bunker doors during testing. See Exhibit H.

                            Upon information and belief, all of PHC’s hydrostatic testing equipment use bleed
                            valves coupled to the high pressure testing equipment within the housing.

  providing a sensor for    PHC’s Automated High Pressure Testing Systems describe use of a “safety
  sensing that said         interlock device” which must be activated to begin a test and “Proximity switches”
  access opening is         integrated into the system to completely depressurize the system in the event
  closed, said sensor       personnel should enter the test area.
  coupled to said bleed     [http://pneumaticandhydraulic.com/hydrostatic-testing-equipment/automated-high-
  valve to activate said    pressure-testing-systems/#!].
  bleed valve to prevent
  pressure buildup in the   Each door of PHC’s Bunker Test Systems, also identified as “Test Bench”, “Test
  high pressure testing     Bunker”, “High/Low Pump System” denoted with the model no. prefix “PHC-
  equipment if the          TB…”, are described as each having “proximity switches” “wired along with []
  access opening is not     directional valves” and which “indicate to the system when [the doors] are
  closed.                   closed” and, in the event “any door is open, the system will not allow a test to be
                            run. The pumps will be turned off, the vent and isolation valves will be opened, and
                            the pump supply valves will be closed . If any door is opened while a test is in
                            progress, the system will automatically turn off the pumps and relieve the
                            pressure.” See Exhibit E at Total Rebuild/PHC 584 (emphasis added); see also
                            descriptions of proximity switch functionality in Exhibit E at Total Rebuild/PHC
                            612, 627, 648, 662-663, 665-666. See also Exhibit E schematic depicting a “Door
                            Switch”. Exhibit E at Total Rebuild 598.

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                             PHC’s Remote Control, Multiple Outlet Test System, also identified as “High/Low
                             Pump Skid”, denoted with the model no. prefix “PHC-PS…”, describes use of a
                             “proximity switch in a box for use with bunker door”. See Exhibit F at Total
                             Rebuild/PHC 667, 673. The proximity switches are located “on each door” and
                             signal for “shutting down of the system” wherein the “proximity switches for the
                             bunker doors and a control solenoid valve in the control panel to stop all pumps
                             and depressurize the system in question.” Exhibit F at Total Rebuild/PHC 679-680,
                             684-685.

                             PHC’s Point and Click Remote Control Systems, associated with PHC’s Valve
                             Manifold and Pump Systems denoted with the model no. prefix “PHC-VM…”, is
                             expressly described as having a “proximity switch to detect when the doors are
                             open”, where in the event of a door being opened the proximity switch will “both
                             kill power to the system and vent the pressure.” See Exhibit G at Total
                             Rebuild/PHC 690.

                             PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no. prefix
                             “PHC-ES…”, contains 16 proximity switches for each door in the four test rooms,
                             wherein the proximity switches function similar that of other PHC proximity
                             switches in PHC’s other systems to detect when a door is open, kill the power to
                             the testing equipment, and vent pressure from the system, describing that the
                             “panel will disable the functioning of individual room systems based upon the
                             positions of the doors.” See Exhibit H at Total Rebuild/PHC 696-697.

  Claim 19. The method       Though not directly described in the limited disclosure of PHC’s product
  for safely testing high-   description, it is believed that such feature is implied by the inclusion of “relief
  pressure devices as        valves”. [http://pneumaticandhydraulic.com/hydrostatic-testing-
  described in claim 18      equipment/hydrostatic-test-packs/; http://pneumaticandhydraulic.com/hydrostatic-
  wherein said bleed         testing-equipment/pressure-test-carts/]; see also Exhibit D.
  valve includes a spring
  maintaining said bleed     Upon information and belief, PHC’s “Bunker Test Systems”, also identified as
  valve in an opened         “Test Bench”, “Test Bunker”, “High/Low Pump System” denoted with the model
  condition to prevent       no. prefix “PHC-TB…”, PHC’s Remote Control, Multiple Outlet Test System, also
  pressure build-up in       identified as “High/Low Pump Skid”, denoted with the model no. prefix “PHC-
  said high-pressure         PS…”, PHC’s Point and Click Remote Control Systems, associated with PHC’s
  pneumatics testing         Valve Manifold and Pump Systems denoted with the model no. prefix “PHC-
  equipment and is air       VM…”, PHC’s E-Stop Safety Inter-Lock Package, denoted with the model no.
  operated to actuate        prefix “PHC-ES…” employ “vent valves” which include a spring to actuate the
  said bleed valve to a      vent valve.
  closed condition to
  allow pressure build-      As Total’s initial contentions are only based upon its preliminary understanding of
  up in said high-           the limited information currently available in PHC’s web based advertisement and
  pressure pneumatics        as Total has yet to be allowed to examine PHC’s devices, Total reserves the right to
  testing equipment.         supplement as discovery proceeds.




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